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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

MICHAEL FAULK,                                     )
                                                   )
       Plaintiffs,                                 )
                                                   ) Case No. 4:18-CV-308-JCH
v.                                                 )
                                                   )
CITY OF ST. LOUIS, et al.,                         )
                                                   )
       Defendants.                                 )

                                 MOTION TO DISMISS

       Defendant City of St. Louis, pursuant to Rule 12(b)(6) of the Federal Rules of

Civil Procedure, hereby moves to dismiss the Missouri state law claims asserted against it

in Counts VI, VII, VIII, VIII, and IX1 of Plaintiff's Complaint. In support of its motion,

Defendant City states as follows:

       1.      The state law tort claims asserted against Defendant City in Counts VI,

VII, VIII, VIII, and IX of Plaintiff’s Complaint are barred by the doctrine of sovereign

immunity.

       2.      In accordance with Local Rule 7-4.01, Defendant City has submitted

herewith a memorandum in support of this motion, setting forth the argument and

authorities relied upon.

       WHEREFORE, and for all of the foregoing reasons, Defendant City of St. Louis

respectfully requests the Court to dismiss the claims asserted by Plaintiff against it in



1
 Plaintiff’s Complaint contains two claims, both numbered as “Count VIII.” See Doc. 1
¶¶ 132-142. The second “Count VIII” is followed by a final claim, numbered as “Count
IX.” Id. ¶¶ 143-50. Although it appears that Plaintiff’s Complaint should have been
numbered I through X, in order to avoid confusion, Defendant City will refer to
Plaintiff’s claims as they are numbered in his Complaint.
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Counts VI, VII, VIII, VIII, and IX of his Complaint, and grant Defendant City any such

other and further relief the Court deems fair and appropriate.

                                              Respectfully submitted,

                                              JULIAN BUSH,
                                              City Counselor

                                                 /s/ H. Anthony Relys
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                                              Attorneys for Defendant City of St. Louis

                             CERTIFICATE OF SERVICE

     I hereby certify that on April 23, 2018, the foregoing Motion to Dismiss was served
via the Court’s electronic filing system upon all counsel of record.


                                                   /s/ H. Anthony Relys
                                                 H. Anthony Relys
                                                 Assistant City Counselor




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